        Case 1:22-cr-20142-CMA Document 40 Entered on FLSD Docket 06/10/2022 Page 1 of 3


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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA

                                              Case No. 22-CR-20142-CMA

            UNITED STATES OF AMERICA

            vs.

            CHRISTIAN JAMIL SUAZO SANCHEZ,

                                   Defendant.
            - - - - - - - - - - - - - - -I
                           STIPULATED FACTUAL PROFFER IN SUPPORT OF PLEA

                   If this matter were to proceed to trial, the Government would prove the following facts

            beyond a reasonable doubt. The Parties agree that these facts, which do not include all facts

            known to the Government and the Defendant, CHRISTIAN JAMIL SUAZO SANCHEZ, are

            sufficient to prove the guilt of the Defendant of the above-referenced Information:

                   As to Count One, co-conspirator and undercover agent testimony, paired with

            corroborating evidence, would show that between 2016 and 2020, a group of individuals conspired

            together with the Defendant to engage in a series of transactions to benefit narcotics trafficking

            co-conspirators in their laundering of drug money .        The Defendant and the co-conspirators

            repatriated the profits from the drug trade, moving money from the U.S. back to Honduras, bought

            properties and other assets in Honduras which were under the control of the drug traffickers though

            listed as being owned by others, and obtained the tools necessary for the drug organization to

            engage in additional drug trafficking, such as helping the drug organization buy a boat for their

            trafficking endeavors. The Defendant was aware that the money involved in the transactions was

            proceeds of narcotics trafficking activities and that the transactions were occurring in a way to hide
Case 1:22-cr-20142-CMA Document 40 Entered on FLSD Docket 06/10/2022 Page 2 of 3




    the fact that it was proceeds of narcotics trafficking activities, as well as the fact that the money

    belonged to and was controlled by narcotics traffickers.

           The evidence would show that, among other things, bulk cash deliveries were made in the

    U.S. and the money was wired back to Honduras via U.S. bank accounts.                The Defendant

    coordinated the deliveries of the bulk cash and the wiring of those funds.           In June 2019,

    approximately $162,000 in bulk cash U.S. currency was seized from a co-conspirator of the

    Defendant as the co-conspirators were getting ready to launder that cash.

           As to Count Two, co-conspirator testimony and corroborating evidence would show that

    between 2018 and 2020, a group of individual s conspired together with the Defendant to send

    cocaine from Colombia to Honduras, with the knowledge and understanding that at least a portion

    of this cocaine - at least 5 kilograms - would be later imported into the United States. More

    specifically, on one instance in October 2019 as part of the conspiracy, the Defendant met with

    individuals in the United States to broker a shipment of cocaine from Colombia to Honduras and

    to discuss the logistics of paying for the drugs via U.S. dollars coming from Mexico.           The

    Defendant offered to invest in I 00 kilograms of cocaine during this contemplated transaction .

    The co-conspirators, including the Defendant, were all aware that this cocaine intended for

    shipment to Honduras would be re-sold by the Defendant's co-conspirators to buyers in Mexico

    or elsewhere north of Honduras with the understanding that a portion, at least 5 kilograms of

    cocaine, would then move further north to the U.S.

           As a commission for Defendant's roles in the charged offenses, he was paid approximately

    $150,000.00, which sum constitutes property traceable to property involved in the commission of

    his offenses, and/or proceeds the Defendant obtained as the result of the commission of the


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Case 1:22-cr-20142-CMA Document 40 Entered on FLSD Docket 06/10/2022 Page 3 of 3




   offenses.     At the time of his arrest, law enforcement seized from the Defendant one (1) Rolex

   GMT Master II, serial number 282V22 l 7; and one (1) gold chain, 28 inches long, stamped " l 4K

   Italy."     The approximately $38,923.26 seized by the Government on or about August 5, 2020,

   was used or to be used to purchase cocaine.      Those assets constitute property involved in or

   traceable to property involved in the commission of his offenses, and/or proceeds the Defendant

   obtained as the result of the commission of the offenses.

                                         JUAN ANTONIO GONZALEZ
                                         UNITED STATES ATTORNEY


   Date:          te_ /rv/22-            By      (;~~f/~
                                               CHRISTINE HERNANDEZ
                                               ASSISTANTU~                ~

   Date:                                 By:
                                                  ' SETTLES, ESQ.
                                               MARC
                                               ATTORNEY FOR DEFEN


   Date:                                 By:




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